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AO 91 (Rev. 11111) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                    Northern District of Mississippi

                  United States of America                           )
                               v.                                    )
                                                                     )      Case No.
                       William Brewer                                )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                       see below                  in the county of          Tallahatchie        in the
     Northern          District of            Mississippi
                                        --------~~----
                                                                , the defendant(s) violated:

            Code Section                                                       Offense Description
21 U.S.C. § 846                                  Conspiracy to distribute a controlled substance (June 2003 through June 12,
                                                 2018)
18 U.S.C. § 1951                                 Extortion and bribery in violation of the Hobbs Act (June 2003 through July,
                                                 26, 2018)




         This criminal complaint is based on these facts:
See Attached Affidavit.




         if Continued on the attached sheet.



                                                                                    Justin P. Niedzwecki, Special Agent FBI
                                                                                               Printed name and title

Sworn to before me and signed in my presence.




City and state:                         Oxford, Mississippi                             Roy Percy, US Magistrate Judge
                                                                                               Printed name and title
